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Fig. 1 Hans Berger which can be found at https://en.wikipedia.org/wiki/
Hans_Berger[05.02.2020]




Compliance with ethical standards

Conflict of interest The authors declare that they have no conflict of
interest.



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